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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Dockery                                    :
                                           :             CIVIL ACTION
               v.                          :
                                           :             No. 17-4114
Heretick, et al.                           :
                                           :

                                         ORDER

        AND NOW, this 1st day of September, 2021, upon consideration of Plaintiff’s Amended

 Motion for Class Certification (ECF No. 246), Defendants 321 Henderson Receivables LLC and

 J.G. Wentworth Originations LLC’s Response in Opposition (ECF Nos. 260-263), Defendant

 Stephen Heretick’s Response in Opposition (ECF No. 264), Plaintiff’s Reply (ECF No. 274),

 Oral Argument held on March 23, 2021 (ECF Nos. 277, 280), the Parties’ Supplemental

 Responses (ECF Nos. 278, 279), Plaintiff’s Memorandum in Support (ECF No. 289), and

 Defendants’ Response (ECF No. 290), it is hereby ORDERED that Plaintiff’s Amended Motion

 for Class Certification is DENIED.

                                                  BY THE COURT:


                                                  /s/ Chad F. Kenney
                                                  __________________________
                                                  CHAD F. KENNEY, JUDGE
